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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF PUERTO RICO

FAG
UNITED STATES OF AMERICA, CRIMINAL NO. 21-079(PRB)
Plaintiff, and 22-205(FAB)

Gustavo Rivera-Mulero /) “ « ‘
, ) 9 923 AS 7H
/k/a “El Cano” ¢
“as Can fe Srai 7083 ME

Defendant.

 

 

PLEA AND FORFEITURE AGREEMENT

TO THE HONORABLE COURT:

The United States of America, Defendant, Gustavo Rivera-Mulero, and
Defendant’s counsel, Juan F. Matos-De Juan, Esq., pursuant to Federal Rule of
Criminal Procedure 11, state that they have reached a Plea Agreement, the terms and
conditions of which are as follows:

1. Charges to which Defendant will Plead Guilty

Defendant agrees to plead guilty to Count Three of Indictment 21-079(DRD)
and Count One of Indictment 22-205(FAB):

Count Three, Indictment 21-079¢ :

On or about March 15, 2021, and continuing to on or about March 16, 2021, in
the United States, in the District of Puerto Rico and within the jurisdiction of this
Court, [3] Gustavo Rivera-Mulero, did knowingly possess firearms, to wit, a 9mm
Taurus pistol model G3, bearing serial number TMW-54667; a 9MM Sig net pistol,

model P365SAS, bearing serial number 66B190870; a Glock pistol .40 caliber, model
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23, bearing serial number HYT-972; a Taurus revolver .38 caliber, model 85, bearing

serial number JN20801; and a Glock ¢istol AO caliber, model 23, bearing serial
number AKT972, in furtherance of a drug trafficking crime, for which he may be
prosecuted in a Court of the United States, that is possession with intent to distribute
a controlled substance in violation of 21 U.S.C. § 841(a)(1). All in violation of 18
USS.C. § 924(c)(1)(A).

Count One, Indictment 22-205(FAB):

 

From at least in or about the year 2020 and continuing up to and until March
16, 2021, in Puerto Rico, and elsewhere, and within the jurisdiction of this Court, [12]
Gustavo Rivera-Mulero, a/k/a “EI Cano’, did knowingly and intentionally,
combine, conspire, and agree with other diverse persons, to commit an offense against
the United States, that is, to knowingly and intentionally possess with intent to
distribute five kilograms or more of a mixture and substance containing a detectable
amount of cocaine, a Schedule II Narcotic Drug Controlled Substance in violation of
21 U.S.C. §§ 841(a)(1) & (b)(1)(A)Gi) and 846.
2. Stipulation as to the Amount of Narcotics
The United States of America and the defendant stipulate and agree that: as to
Count One of the Indictment 22-205(FAB), the defendant shall be held accountable
for conspiring to possess with intent to distribute at least four hundred grams (400g)
but less than five hundred grams (500g) of cocaine, a Schedule II Narcotic Drug

Controlled Substance.

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3. Maximum Penalties

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Count Three, Indictment 21-07 oats

 

The maximum statutory penalty for the offense charged in Count Three of the
Indictment, is a term of imprisonment of not less than five (5) years pursuant to 18
U.S.C. § 924(c)(1); a fine not to exceed two hundred and fifty thousand dollars
($250,000) pursuant to 18 U.S.C. § 3571(b)(3); and a supervised release term of not
more than five (5) years, pursuant to 18 U.S.C. § 3583(b)(1).

Count One, Indictment 22-205(FAB):

 

The maximum statutory penalty for the offense charged in Count One of the
Indictment, is a term of imprisonment of not less than ten (10) years and not more
than life; a fine not to exceed the greater of that authorized in accordance with the
provisions of Title 18 or ten million dollars (10,000,000); and a supervised release
term of at least five (5) years, all pursuant to 21 U.S.C. §§ 841(a)(1) & (b)(1)(A) (1) and
846.

However, the Defendant further understands that, based on the stipulated and
agreed amount of narcotics attributed to the Defendant as part of this plea agreement,
the penalty for the above-mentioned count of conviction is as follow: a term of
imprisonment of not more than twenty (20) years; a fine not to exceed the greater of
that authorized in accordance with the provisions of Title 18 or one million dollars
(1,000,000); and a supervised release term of at least three (3) years, all pursuant to

21 U.S.C. §§ 841(a)(1) & (b)(1)(C) and 846.

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4. Sentencing Guidelines Applicability
Defendant understands that the sentence will be imposed by the Court in
accordance with 18 U.S.C. § § 3551-86, and the United States Sentencing Guidelines
(hereinafter “Guidelines”), which are advisory pursuant to the United States Supreme
Court decision in United States v. Booker, 543 U.S. 220 (2005). Further, Defendant
acknowledges that parole has been abolished, and that the imposition of Defendant’s
sentence may not be suspended.
5. Special Monetary Assessment
Defendant agrees to pay a special monetary assessment (“SMA”) of one
hundred dollars ($100.00) per count of conviction. The SMA will be deposited in the
Crime Victim Fund, pursuant to 18 U.S.C. § 3013 (a)(2)(A).
6. Fines and Restitution
The Court may, pursuant to Section 5E1.2 of the Guidelines order Defendant
to pay a fine. The Court may also impose restitution. Defendant agrees to execute and
make available, prior to sentencing, a standardized financial statement (OBD Form
500). The United States will advocate on behalf of any identified victim and comply
with its obligations under the Mandatory Victim Restitution Act of 1996.
7. Sentence to be Determined by the Court
Defendant understands that the sentence to be imposed will be determined
solely by the United States District Judge. The United States cannot make and has not

made any promise or representation as to what sentence Defendant will receive. Any

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discussions that the parties might have had about possible sentences are not binding in

any way on the Court, and do not constitute representations about what the parties

will seek, or what the actual sentence will be.

8. Recommended Sentencing Guidelines Calculations

After due consideration of the relevant factors enumerated in 18 U.S.C. §

3553(a), the United States and Defendant submit that the advisory Guidelines

calculations listed below apply to Defendant. However, Defendant acknowledges that

the Court is not required to accept those recommended Guidelines calculations.

—

3
Indictment 21-079¢ :

 

 

COUNT THREE
T. 18 U.S.C. 924(c)

 

 

 

For Count Three of the Indictment where defendant pleads guilty for possessing
a firearm in furtherance of a drug trafficking crime, a minimum term of

imprisonment of (60) months is mandatory.

 

 

 

 

 

Indictment 22-205(FAB):

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

COUNT ONE
21 U.S.C. §§ 841(a)(1) & (b)(1)(C) and 846
Base Offense Level pursuant to U.S.S.G. § 2D1.1(c)(9) 9
Acceptance of Responsibility pursuant to U.S.S.G. §3E1.1 3
TOTAL ADJUSTED OFFENSE LEVEL 19
CH Cat. I | CH Cat. II | CH Cat. Il] CH Cat.Iv | CH Cat. V | CH Cat. VI
30-37 33-41 37-46 46-57 57-71 63-78
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9. Sentence Recommendation

After due consideration of the relevant factors enumerated in 18 U.S.C.
§ 3553(a), the parties agree to request the following: As to Count Three of Indictment
21-079(DRD), a sentence of imprisonment of 60 months. As to Count One of
Indictment 22-205(FAB), a sentence of imprisonment of 37 months regardless of
criminal history category. The sentence in case 21.0700 B) to be served
consecutive to the sentence in case 22-205(FAB), for a combined total of 97 months of
imprisonment.

The parties agree that any recommendation by either party for a term of
imprisonment below or above the stipulated sentence recommendation will constitute
a material breach of the Plea Agreement.

10. No Stipulation as to Criminal History Category
The parties do not stipulate as to any Criminal History Category for Defendant.
11. Waiver of Appeal

Defendant knowingly and voluntarily agrees that, if the imprisonment sentence
imposed by the Court is 60 months for case nosh and 37 months or less for
case 22-205(FAB), Defendant waives the right to appeal any aspect of this case’s
judgment and sentence, including, but not limited to the term of imprisonment or
probation, restitution, fines, forfeiture, and the term and conditions of supervised

release.

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12. No Further Adjustments or Departures
The United States and Defendant agree that no further adjustments or
departures to Defendant’s total adjusted base offense level and no variant sentence
under 18 U.S.C. §3553—other than any explicitly provided for in this Plea
Agreement—shall be sought by Defendant. The parties agree that any request by
Defendant for an adjustment or departure that is not explicitly provided for in this Plea
Agreement will be considered a material breach of this Plea Agreement, and the
United States will be free to ask for any sentence, either guideline or statutory.
13. Satisfaction with Counsel
Defendant is satisfied with counsel, Juan F. Matos-De Juan, Esq., and asserts
that counsel has rendered effective legal assistance.
14. Rights Surrendered by Defendant Through Guilty Plea
Defendant understands that by entering into this Plea Agreement, Defendant
surrenders and waives certain rights as detailed in this agreement. Defendant
understands that the rights of criminal defendants include the following:

a. If Defendant had persisted in a plea of not guilty to the charges,
Defendant would have had the right to a speedy jury trial with the
assistance of counsel. The trial may be conducted by a judge sitting
without a jury if Defendant, the United States and the judge agree.

b. If a jury trial is conducted, the jury would be composed of twelve lay
persons selected at random. Defendant and Defendant’s attorney would
assist in selecting the jurors by removing prospective jurors for cause
where actual bias or other disqualification is shown, or by removing
prospective jurors without cause by exercising peremptory challenges.

The jury would have to agree, unanimously, before it could return a
verdict of either guilty or not guilty. The jury would be instructed that

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Defendant is presumed innocent, that it could not convict Defendant
unless, after hearing all the evidence, it was persuaded of Defendant’s
guilt beyond a reasonable doubt, and that it was to consider each charge
separately.

c. Ifa trial is held by the judge without a jury, the judge would find the facts
and, after hearing all the evidence and considering each count separately,
determine whether or not the evidence established Defendant’s guilt
beyond a reasonable doubt.

d. At a trial, the United States would be required to present its witnesses
and other evidence against Defendant. Defendant would be able to
confront those witnesses and Defendant’s attorney would be able to
cross-examine them. In turn, Defendant could present witnesses and
other evidence on Defendant’s own behalf. If the witnesses for Defendant
would not appear voluntarily, Defendant could require their attendance
through the subpoena power of the Court.

e. Atatrial, Defendant could rely on the privilege against self-incrimination
to decline to testify, and no inference of guilt could be drawn from

Defendant’s refusal to testify. If Defendant desired to do so, Defendant
could testify on Defendant’s own behalf.

15. Stipulation of Facts
The accompanying Stipulation of Facts signed by Defendant is hereby
incorporated into this Plea Agreement. Defendant adopts the Stipulation of Facts and
agrees that the facts therein are accurate in every respect. Defendant agrees and accepts
that had the matter proceeded to trial, the United States would have proven those facts
beyond a reasonable doubt.
16. Limitations of Plea Agreement
This Plea Agreement binds only the United States Attorney’s Office for the

District of Puerto Rico and Defendant. It does not bind any other federal district, state,

or local authorities.

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17. Entirety of Plea Agreement
This written agreement constitutes the complete Plea Agreement between the
United States, Defendant, and Defendant’s counsel. The United States has made no
promises or representations except as set forth in writing in this Plea Agreement and
denies the existence of any other terms and conditions not stated herein.
18. Amendments to Plea Agreement
No other promises, terms or conditions will be entered into between the parties
unless they are in writing and signed by all parties.
19. Dismissal of Remaining Counts
At sentencing should there be any pending counts, and should the Defendant
comply with the terms of this Plea Agreement, the United States will move to dismiss
the remaining counts of the Indictment pending against Defendant in this case.
20. Voluntariness of Plea Agreement
Defendant acknowledges that no threats have been made against Defendant and
that Defendant is pleading guilty freely and voluntarily because Defendant is guilty.
21. Breach and Waiver
Defendant agrees that defendant will have breached this Plea Agreement if,
after entering into this Plea Agreement, Defendant: (a) fails to perform or to fulfill
completely each and every one of Defendant’s obligations under this Plea Agreement;
(b) engages in any criminal activity prior to sentencing; or (c) attempts to withdraw

Defendant’s guilty plea. In the event of such a breach, the United States will be free

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from its obligation under this Plea Agreement and Defendant will not have the right
to withdraw the guilty plea. Moreover, Defendant agrees that if Defendant is in breach
of the Plea Agreement, Defendant is deemed to have waived any objection to the
reinstatement of any charges under the Indictment, Information, or complaint which
may have previously been dismissed or which may have not been previously
prosecuted.
22. Potential Impact on Immigration Status

Pursuant to Federal Rule of Criminal Procedure 11(b)(1)(O), Defendant hereby
agrees and recognizes that if convicted, a Defendant who is not a United States citizen
may be removed from the United States, denied citizenship, and denied admission to

the United States in the future.
23. Felony Conviction
Defendant hereby agrees and recognizes that the plea of guilty in this case will

be recognized as a felony conviction, which will result in the loss of certain rights,
including but not limited to the right to vote in a federal election, to serve as a juror,
to hold public office, and to lawfully possess a firearm.
24. Firearms and Ammunition Forfeiture
Pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c), Defendant agrees to
forfeit Defendant’s rights and interest any firearms and ammunition involved or used
in the commission of the offense, including, but not limited to: a Glock pistol .40

caliber, model 23, bearing serial number AKT972, one magazine and ammunitions.

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25. Forfeiture Provision

Pursuant to 21 U.S.C. § 853, Defendant agrees to waive and forgo any interests
or claims of the following property, including, but not limited to $28,000 in U.S.
Currency seized on March 15, 2021.

Pursuant to this Plea Agreement, the defendant agrees to forfeit to the United
States any drug proceeds or substitute assets for that amount, which constitutes or is
derived from proceeds generated or traceable to the drug trafficking offense in violation
of 21 U.S.C. §841. Further, defendant shall forfeit to the United States any property
constituting, or derived from, proceeds obtained, directly or indirectly, as a result of
said violations and any property used, or intended to be used, in any manner or part,
to commit, or to facilitate the commission of the said violations. The defendant agrees
to identify all assets over which the defendant exercises or exercised control, directly
or indirectly, within the past three years, or in which the defendant has or had during
that time any financial interest. The defendant agrees to take all steps as requested by
the United States to obtain from any other parties by any lawful means any records of
assets owned at any time by the defendant. Defendant agrees to forfeit to the United
States all of the defendant's interests in any asset of a value of more than $1,000 that,
within the last three years, the defendant owned, or in which the defendant maintained
an interest, the ownership of which the defendant fails to disclose to the United States

in accordance with this agreement.

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Defendant further agrees to waive all interest in any such asset in any
administrative or judicial forfeiture proceeding, whether criminal or civil, state or
federal. Defendant agrees to consent to the entry of orders of forfeiture for such
property and waives the requirements of Federal Rules of Criminal Procedure 32.2
and 43(a) regarding notice of the forfeiture in the charging instrument, announcement
of the forfeiture at sentencing, and incorporation of the forfeiture in the judgment.
Defendant acknowledges that the forfeiture of assets is part of the sentence that may
be imposed in this case and waives any failure by the court to advise Defendant of this,
pursuant to Rule 11(b)(1)(J), at the time Defendant’s guilty plea is accepted.

Defendant further agrees to waive all constitutional and statutory challenges in
any manner (including direct appeal, habeas corpus, or any other means) to any
forfeiture carried out in accordance with this Plea Agreement on any grounds,
including that the forfeiture constitutes an excessive fine or punishment. Defendant
agrees to take all steps as requested by the United States to pass clear title to forfeitable
assets to the United States, and to testify truthfully in any judicial forfeiture
proceeding. Defendant acknowledges that all property covered by this agreement is
subject to forfeiture as proceeds of illegal conduct, giving rise to forfeiture and/or
substitute assets for property otherwise subject to forfeiture.

Defendant, by agreeing to the forfeiture stated above, acknowledges that such
forfeiture is not grossly disproportionate to the gravity of the offense conduct to which
Defendant is pleading guilty. Defendant agrees that the forfeiture provisions of this

Plea Agreement are intended to and will survive Defendant, notwithstanding the

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abatement of any underlying criminal conviction after the execution of this agreement.

The forfeitability of any particular property pursuant to this agreement shall be

determined as if Defendant had survived, and that determination shall be binding upon

Defendant’s heirs, successors and assignees until the agreed forfeiture, including any

agreed money judgment, is collected in full.

W. Stephen Muldrow
United States Attorney

 

Teresa Arpxta-Valladares

Assistawt U.S. Attorney
Deputy Chief,,Gang Section

Dated: 914 | Way

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Richard Vance Eaton

Special Assistant U.S. Attorney
Dated: % /(V&

 

‘ C- aly
Camille Garcia-Jiménez

Assistant U.§. Attorney
Dated:__ S| ¥} 2022

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Juan Matos-De Juan

Counsel for Defendant
Dated: Z| 1] 2 a

Gustavo Rivera-Mulero
Defendant

Dated: 2/7 [23

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UNDERSTANDING OF RIGHTS

I have consulted with counsel and fully understand all of my rights as to the
charges pending against me. Further, I have consulted with my attorney and fully
understand my rights as to the provisions of the Guidelines that may apply in my case.
I have read this Plea Agreement and carefully reviewed every part of it with my
attorney. My counsel has translated the Plea Agreement to me in the Spanish language

and I have no doubts as to the contents of the agreement. I fully understand this

agreement and voluntarily agree to it. ; / le
Date: 2] 23 A | js

Gustavo Rivera-Mulero
Defendant

I am the attorney for Defendant. I have fully explained Defendant’s rights to
Defendant with respect to the pending charges. Further, I have reviewed the applicable
provisions of the Guidelines and I have fully explained to Defendant the provisions of
those Guidelines that may apply in this case. I have carefully reviewed every part of
this Plea Agreement with Defendant. I have translated the Plea Agreement and
explained it in the Spanish language to the Defendant who has expressed having no
doubts as to the contents of the agreement. To my knowledge, Defendant is entering
into this Plea Agreement voluntarily, intelligently, and with full knowledge of all

consequences of Defendant’s plea of guilty.

Date: _? | 1] 23 wc

Juan Matos-De Juan
Counsel for Defendant

 

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STIPULATION OF FACTS

_In conjunction with the submission of the accompanying Plea Agreement in
this case, the Defendant Gustavo Rivera-Mulero admits that Defendant is guilty as
charged in the Indictment and admits the following:

Had this matter proceeded to trial, the United States would have presented
evidence through the testimony of witnesses as well as physical evidence and
documentary evidence, which would have proven beyond a reasonable doubt
Defendant’s guilt.

On March 15, 2021, agents were surveilling a residence located at Jardines de
Dorado, Gardenia Street D-14 in Dorado, Puerto Rico. Gustavo Rivera-Mulero
arrived at the residence in his Ford E350 Van. The agents observed Rivera and two
other individuals concealing kilograms of cocaine inside five-gallon buckets. The
buckets were then placed inside the van.

Rivera left the residence driving the van with one of the other individuals as
passenger. They arrived at SSH Movers, a shipping company located in Dorado,
Puerto Rico. Shortly after, agents arrived and observed several individuals within the
shipping company grounds, including Rivera. The individual who had been in the
van with Rivera dropped a brown box onto the ground. The box contained $28,000 in
US currency. All the doors of Rivera’s van were open. Inside the van, the agents
found and seized a loaded Glock pistol .40, model 23, serial number AKT972, plastic
and rubber wrappings with cocaine residue, and three cellphones. Rivera and three

other individuals were arrested.

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Further investigation revealed that when the agents arrived to SSH Movers, a
drug transaction had just occurred. Unknown individuals had moved and hidden the
five-gallon buckets with the kilograms of cocaine.

During an interview, Rivera claimed ownership of the illegal firearm seized
inside the van.

By pleading guilty, Gustavo Rivera-Mulero admits that he knowingly and
intentionally possessed the firearm in furtherance of a drug-trafficking crime.

Gustavo Rivera Mulero participated in a drug conspiracy. The object of the
conspiracy was the distribution of wholesale amounts of cocaine within Puerto Rico
and the continental United States for financial gain and profit. Specifically, Gustavo
Rivera Mulero packed and shipped more than 5 kilograms of cocaine to the
continental United States. He also invested money in buying kilograms cocaine.

For purposes of this plea agreement, Gustavo Rivera Mulero accepts that from
at least in or about the year 2020 and continuing up to and until March 16, 2021, he
did knowingly and intentionally combine, conspire, and agree with others to commit
an offense against the United States, that is, to knowingly and intentionally possess
with intent to distribute at least four hundred grams (400g) but less than five hundred

grams (500g) of cocaine.

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At trial, the United States would have proven beyond a reasonable doubt that
defendant Gustavo Rivera-Mulero is guilty as charged in Count Three of Indictment

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21-079 (BRP) and Count One of Indictment 22-205 (FAB). Discovery was timely

made available to Defendant for review.

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Juan Matos-De Juan
Counsel for Defendant
Dated: <|7/2%

AL POL Ul-

Camille Garcia-J iméndy Gustavo Rivera-Mulero

Assistant U.S. Attorney Defendant
Dated: _ & 0aa Dated: 2/9/23

 

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